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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 ANISSA LYNNET JONES,

 Plaintiff,                                               Case No: 1:16-cv-08938

 v.                                                      Honorable Judge Rebecca R.
                                                         Pallmeyer
 COMENITY BANK,

 Defendant.


               AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

         IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff, ANISSA

LYNNET JONES, and the Defendant, COMENITY BANK, through their respective counsel that

the above-captioned action is dismissed, with prejudice, against COMENITY BANK, pursuant to

Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear its own costs and attorneys’

fees.


Dated: April 17, 2017                                Respectfully Submitted,

ANISSA LYNNET JONES                                  COMENITY BANK

/s/ Nathan C. Volheim                                /s/ Mitha V. Rao (with consent)
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